Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 1 of 27. PageID #: 323




               EXHIBIT A
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 2 of 27. PageID #: 324
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 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/26/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:      2/27/2019
                                                                                          Signature of the attorney or unrepresented party
  Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.                                                          Evan K. Jacobs
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                Morgan, Lewis & Bockius LLP
                                                                                                    1701 Market Street
                                                                                                  Philadelphia, PA 19103
                                                                                                                Address
                                                                                               evan.jacobs@morganlewis.com
                                                                                                            E-mail address
                                                                                                          (215) 963-5329
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 4 of 27. PageID #: 326


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/26/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:      2/27/2019
                                                                                          Signature of the attorney or unrepresented party
                           Actavis LLC                                                                    Evan K. Jacobs
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                Morgan, Lewis & Bockius LLP
                                                                                                    1701 Market Street
                                                                                                  Philadelphia, PA 19103
                                                                                                                Address
                                                                                               evan.jacobs@morganlewis.com
                                                                                                            E-mail address
                                                                                                          (215) 963-5329
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 5 of 27. PageID #: 327


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


 Date:      3/4/2019
                                                                                          Signature of the attorney or unrepresented party
                     Cardinal Health, Inc.                                                                  Emily Pistilli
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                   Williams & Connolly LLP
                                                                                                   725 Twelfth Street, NW
                                                                                                   Washington, D.C. 20005
                                                                                                                Address
                                                                                                         EPistilli@wc.com
                                                                                                            E-mail address
                                                                                                          (202) 434-5652
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 6 of 27. PageID #: 328


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/26/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:        2/27/2019
                                                                                          Signature of the attorney or unrepresented party
                         Cephalon, Inc.                                                                   Evan K. Jacobs
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                Morgan, Lewis & Bockius LLP
                                                                                                    1701 Market Street
                                                                                                  Philadelphia, PA 19103
                                                                                                                Address
                                                                                               evan.jacobs@morganlewis.com
                                                                                                            E-mail address
                                                                                                          (215) 963-5329
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 7 of 27. PageID #: 329


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


 Date:        4/3/2019
                                                                                          Signature of the attorney or unrepresented party
                  CVS Health Corporation                                                                    Jason Acton
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                  Zuckerman Spaeder LLP
                                                                                               1800 M Street N.W., Suite 1000
                                                                                                  Washington, DC 20036
                                                                                                                Address
                                                                                                    jacton@zuckerman.com
                                                                                                            E-mail address
                                                                                                          (202) 778-1860
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 8 of 27. PageID #: 330


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/22/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:         3/19/2019                                                                                /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
                Endo Health Solutions Inc.                                                                  Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 9 of 27. PageID #: 331


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/22/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:        3/19/2019                                                                                 /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
                Endo Pharmaceuticals Inc.                                                                   Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 10 of 27. PageID #: 332
              Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 11 of 27. PageID #: 333


  AO 399 (01 /09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                              Northern District of Ohio

            Charter Township of Clinton, Michigan                           )
                                   Plaintifl                                )
                                       V.                                   )       Civil Action No. 1: 18-op-46135
                         Purdue Pharma L.P.                                 )
                                  Defendant                                 )


                                                 W AIYER OF THE SERVICE OF SUMMONS

  To:        J. Burton LeBlanc, IV
                 (Name of the plaintifl's attorney or unrepresented plaintiff)

        I have received your request to waive service ofa summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence ofa summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/21/2019                , the date when this request was sent (or 90 days ifit was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.




                                                                                            s t ~attorney or unrepresented party
                      Johnson & Johnson                                                                       Stella D. Kim
        Printed name ofparty waiving service of summons                                                        Printed name
                                                                                                      O'Melveny & Myers LLP
                                                                                                          400 S. Hope St.
                                                                                                      Los Angeles, CA 90071
                                                                                                                  Address
                                                                                                           skim@omm .com
                                                                                                              E-mail address
                                                                                                            (213) 430-6000
                                                                                                            Telephone number


                                               Duty to Avoid Unnecessary Expenses of Serving a Summons
           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of serv ice requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant's property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
             If you waive service, then you must, within the time specified on the waiver forn1 , serve an answer or a motion under Rule 12 on the plaintiff
and fil e a copy with the court. By signing and returning the waiver forn1 , yo u are allowed more time to respond than if a summons had been served .
              Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 12 of 27. PageID #: 334


  AO 399 (0 1/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRJCT COURT
                                                                      for the
                                                             Northern District of Ohio

            Charter Township of Clinton, Michigan                          )
                                   Plaintiff                               )
                                       V.                                  )       Civil Action No. 1:18-op-46135
                         Purdue Pharma L.P.                                )
                                 Defendant                                 )


                                                 W AIYER OF THE SERVICE OF SUMMONS

 To :        J. Burton LeBlanc, IV
                 (Name of the plaintiff's attorney or unrepresented plaintiff)

        r have received yo ur request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form , and a prepaid means of returning one signed copy of the form to you.
           I, or the entity r represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity r represent, will keep all defenses or objections to the lawsuit, the court' s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that r, or the entity I represent, must file and serve an answer or a motion under Rule I 2 within
60 days from             02/21/2019                , the date when this request was sent (or 90 days ifit was sent outside the
United States). ff I fail to do so, a default judgment will be entered against me or the entity r represent.



 Date:          ':3,/i /
               ?QP,-
   Janssen Pharmaceutica , Inc. n/k/a Janssen
            Pharmaceuticals, Inc.                                                                            Stella D. Kim
        Printed name ofparty waiving service ofsummons                                                        Printed name
                                                                                                     O'Melveny & Myers LLP
                                                                                                        400 S. Hope St.
                                                                                                     Los Angeles , CA 90071
                                                                                                                Address
                                                                                                          skim@omm .com
                                                                                                             E-mail address
                                                                                                           (213) 430-6000
                                                                                                           Telephone number


                                               Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in savi ng unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fai ls to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           "Good cause" does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over thi s matter or over the defendant or the defendant' s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver forn1, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver fonn , you are allowed more time to respond than if a summons had been served.
              Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 13 of 27. PageID #: 335


  AO 399 (0 1/09) Waiver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                        for the
                                                               Northern District of Ohio

             Charter Township of Clinton , Michigan                          )
                                   Plaintiff                                 )
                                       V.                                    )       Civil Action No. 1: 18-op-46135
                         Purdue Pharma L.P.                                  )
                                  Defendant                                  )


                                                 WAIVER OF THE SERVICE OF SUMMONS

  To :        J. Burton LeBlanc, IV
                 (Na me of the plaintiff's attorney or unrepresented plaintiff)

        I have received your request to waive service ofa summons in this action along with a copy of the complaint,
two copies ofthis waiver form , and a prepaid means of returning one signed copy of the form to you .
            I, or the entity I represent, agree to save the expense of serving a summons and comp laint in this case.
          I understand that I, or the entity I represent, wil l keep all defenses or objections to the lawsuit, the cou1t's
jurisdiction, and the venue of the action, but that I waive any obj ections to the absence ofa summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rul e 12 w ithin
60 days from             02/21/2019                , the date when this request was sent (or 90 days ifit was sent outside the
United States). If I fail to do so, a default judgment wi ll be entered against me or the entity I represent.




               Janssen Pharmaceuticals, Inc.                                                                   Stella D. Kim
         Printed name ofparty waiving service of summons                                                         Printed name
                                                                                                        O'Melveny & Myers LLP
                                                                                                            400 S. Hope St.
                                                                                                        Los Angeles , CA 90071
                                                                                                                   Address
                                                                                                            skim@omm .com
                                                                                                                E-mail address
                                                                                                              (213) 430-6000
                                                                                                              Telephone number


                                               Duty to Avo id Unn ecessary Expenses of Serving a Summons
            Rule 4 of the Federal Rules of C ivil Procedure requires certain defe ndants to cooperate in sav ing unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fa ils to return a signed waiver of serv ice requested by a plaintiff located in
the Un ited States wi ll be required to pay the expenses of service, unl ess the defendant shows good cause for the fai lure.
           "Good cause" does not include a be lief that the lawsuit is gro undless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant' s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
             If you waive serv ice, then you must, within the time specified on the wa iver forn1, serve an answer or a motion under Rule 12 on the plainti ff
and fil e a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 14 of 27. PageID #: 336



 AO 399 (01/09) Waiver of the Service of Summons



                                      United States District Court
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                                     v.                                   )       Civil Action No. 1:18-op-46135
                        Purdue Pharma L.P.                                )
                                Defendant                                 )

                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                 (Name of the plaintiff’s attorney or unrepresented plaintiff)                                                                               I


        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you,
        I, or the entity 1 represent, agree to save the expense of serving a summons and complaint in this case.                                             !
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


 Date:      ff/sltq
                                                                                    V_Signature of theittormv orjmfepresented pqm>
                     The Kroger Company                                        ______________ Ronda L. Harvey                             /
       Printed name ofparty waiving service of summons                                                       Printed name
                                                                                                        Bowles Rice, LLP
                                                                                                       600 Quarrier Street
                                                                                                      Charleston, VW 25301
                                                                                                                Address
                                                                                                    rharvey@bowlesrice.com
                                                                                                            E-mail address
                                                                                                           (304)347-1701
                                                                                                           Telephone number


                                             Duty to Avoid Unnecessary Expenses of Serving a Summons
            Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
            “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
            If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 15 of 27. PageID #: 337
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 16 of 27. PageID #: 338
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 17 of 27. PageID #: 339
              Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 18 of 27. PageID #: 340


  AO 399(0 1/09) Wai ver of the Service of Summons



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                              Northern District of Ohio

            Charter Township of Clinton , Michigan                          )
                                   Plaintiff                                )
                                       V.                                   )       Civil Action No. 1: 18-op-46135
                         Purdue Pharma L.P .                                )
                                  Defendant                                 )


                                                 WAIVER OF THE SERVICE OF SUMMONS

  To:        J . Burton LeBlanc, IV
                 (Name of the plaintiff's attorney or unrepresented plaintiff)

        I have received yo ur request to waive service ofa summons in this action a long with a copy of the complaint,
two copies of this waiver fo rm , and a prepaid means of returning one signed copy of the form to you.
           I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, wi ll keep all defenses or objections to the lawsuit, the court's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/21/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date :        3/
               I f X)[0
  Ortho-McNeif-Janssen Pharmaceuticals, Inc.
        n/k/a Janssen Pharmaceuticals, Inc.                                                                   Stella D. Kim
        Printed name ofparty waiving service of summons                                                       Printed name
                                                                                                      O'Melveny & Myers LLP
                                                                                                         400 S. Hope St.
                                                                                                      Los Angeles , CA 90071
                                                                                                                 Address
                                                                                                           skim@omm .com
                                                                                                              E-mail address
                                                                                                            (213) 430-6000
                                                                                                            Telephone number


                                               Duty to Avo id Unnecessary Ex penses of Se rv in g a Summons
          Rule 4 of the Federal Rul es of Civ il Procedure requires certai n defend ants to cooperate in sav ing unnecessary expenses of serv ing a summons
and complaint. A defendant who is located in the United States and who fai ls to return a signed waiver of serv ice requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the fai lure.
           "Good cause" does not include a belief that the lawsui t is groundl ess, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant' s property.
        If the waiver is signed and returned, you can still make th ese and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you mu st, within the time specified on the waiver form , serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver fo 1m, you are all owed more time to respond than ifa summ ons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 19 of 27. PageID #: 341


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/25/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:        3/25/2019                                                                                    /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
         Par Pharmaceutical Companies, Inc.                                                                 Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 20 of 27. PageID #: 342


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/25/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:       3/25/2019                                                                                   /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
                  Par Pharmaceutical, Inc.                                                                  Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 21 of 27. PageID #: 343


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/25/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date: 03/05/2019                                                                                    /s/ Hayden A. Coleman
   Purdue Pharma, Inc.; The Purdue Frederick                                              Signature of the attorney or unrepresented party
       Company, Inc.; Purdue Pharma LP                                                                 Hayden A. Coleman
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                    Dechert LLP
                                                                                   Three Bryant Park, 1095 Avenue of the Americas
                                                                                             New York, NY 10036-6797
                                                                                                                Address
                                                                                               hayden.coleman@dechert.com
                                                                                                            E-mail address
                                                                                                          (212) 698-3500
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
              Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 22 of 27. PageID #: 344

AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                         NorthernDistrict
                                                     __________   Districtofof__________
                                                                               Ohio

      In re: National Prescription Opioid Litigation                         )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 17-md-2804-DAP
              Rite Aid of Maryland, Inc. et al.                              )
                             Defendant                                       )    This document applies to: See attached case list


                                            WAIVER OF THE SERVICE OF SUMMONS

To: J. Burton LeBlanc, IV
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.




Date:          03/28/2019
                                                                                            Signature of the attorney or unrepresented party

                 Rite Aid of Maryland, Inc.                                                               Elisa P. McEnroe
        Printed name of party waiving service of summons                                                      Printed name
                                                                                                 Morgan, Lewis & Bockius, LLP
                                                                                                        1701 Market St.
                                                                                                    Philadelphia, PA 19103
                                                                                                                 Address

                                                                                              elisa.mcenroe@morganlewis.ccom
                                                                                                             E-mail address

                                                                                                           (215) 963-5917
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
  Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 23 of 27. PageID #: 345




Plaintiff                         MDL Case No.
County of Amador, California      1:18-op-46075
County of Tehama, California      1:18-op-45680
Bartow County, Georgia            1:19-op-45045
City of Albany, Georgia           1:18-op-46337
Laurens County, Georgia           1:18-op-45945
Lee County, Georgia               1:18-op-46171
Polk County, Georgia              1:19-op-45046
                                  1:18-op-46284-
Union County, Georgia             DAP
Commissioners of St. Mary's
County, Maryland                  1:18-op-46334
Board of County
Commissioners of Washington
County, Maryland                  1:18-op-46060
Branch County, Michigan           1:18-op-46096
Charter Township of Canton,
City of Livonia, Charter
Township of Northville, City of
Romulus, Charter Township of
Van Buren, City of Wayne, and
Charter Township of Huron,
Michigan                          1:18-op-46134
Charter Township of Clinton,
Michigan                          1:18-op-46135
County of Eaton, Michigan         1:18-op-45971
County of Muskegon, Michigan      1:18-op-46199
Plains Township, Pennsylvania     1:18-op-46215
Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 24 of 27. PageID #: 346
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 25 of 27. PageID #: 347


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/26/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:      2/27/2019
                                                                                          Signature of the attorney or unrepresented party
            Teva Pharmaceuticals USA, Inc.                                                                Evan K. Jacobs
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                Morgan, Lewis & Bockius LLP
                                                                                                    1701 Market Street
                                                                                                  Philadelphia, PA 19103
                                                                                                                Address
                                                                                               evan.jacobs@morganlewis.com
                                                                                                            E-mail address
                                                                                                          (215) 963-5329
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 26 of 27. PageID #: 348


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.


 Date:       3/24/2019                                                                            /s/ Tara A. Fumerton
                                                                                          Signature of the attorney or unrepresented party
    Walmart Inc. or Wal-Mart Stores East, LP                                                            Tara A. Fumerton
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                           Jones Day
                                                                                                       77 W. Wacker Drive
                                                                                                        Chicago, IL 60601
                                                                                                                Address
                                                                                                   tfumerton@jonesday.com
                                                                                                            E-mail address
                                                                                                          (312) 782-3939
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-46135-DAP Doc #: 9-1 Filed: 05/31/19 27 of 27. PageID #: 349


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

           Charter Township of Clinton, Michigan                          )
                                 Plaintiff                                )
                               v.                                         )       Civil Action No. 1:18-op-46135
                       Purdue Pharma L.P.                                 )
                                Defendant                                 )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             02/26/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:        2/27/2019
                                                                                          Signature of the attorney or unrepresented party
                 Watson Laboratories, Inc.                                                                Evan K. Jacobs
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                Morgan, Lewis & Bockius LLP
                                                                                                    1701 Market Street
                                                                                                  Philadelphia, PA 19103
                                                                                                                Address
                                                                                               evan.jacobs@morganlewis.com
                                                                                                            E-mail address
                                                                                                          (215) 963-5329
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
